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                                             THE CITY OF NEW YORK
JAMES E. JOHNSON                            LAW DEPARTMENT                                               SHERIEF GABER
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                      MEMORANDUM ENDORSEMENT
                                                                     November 2, 2020

                                                                      Conference cancelled.
        VIA ECF                                                       So Ordered.
        Hon. Gabriel W. Gorenstein
        United States District Court
        Southern District of New York
                                                                       November 2, 2020
        500 Pearl Street, Courtroom 6B
        New York, NY 10007

                 Re: M.S., et al. v. N.Y.C. Dep’t of Educ., et al., 20-cv-01300 (GBD) (GWG)

        Dear Judge Gorenstein,

                I am an Assistant Corporation Counsel in the office of Corporation Counsel James E.
        Johnson, attorney for Defendant in the above-referenced action wherein Plaintiffs seek, among
        other relief, attorneys’ fees, costs and expenses for legal work on an administrative hearing under
        the Individuals with Disabilities Education Act, 20 U.S.C. §1400, et seq., as well as for this
        action.

                I write on behalf of both parties in response to your October 22, 2020 Order scheduling
        an Initial Pretrial Conference for today, November 2, 2020, at 10:30 a.m. (ECF No. 29). Parties
        have since agreed on terms to settle the attorneys fees claims and thereby this action. As such,
        we believe that a conference is no longer required and respectfully request that the Court cancel
        the scheduled appearance.
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      We plan to finalize the settlement in the coming week. Thank you for considering this
submission.



                                                          Respectfully Submitted,



                                                          /s/_Sherief Gaber__________
                                                          Sherief Gaber
                                                          Assistant Corporation Counsel
                                                          Attorney for Defendant


                                                          /s/__Tracey Spencer Walsh___
                                                          Tracey Spencer Walsh
                                                          Christopher Barnett
                                                          Attorneys for Plaintiffs
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